Case 2:04-cr-20311-.]DB Document 152 Filed 05/18/05 Page 1 of 3 Page|D 217

FUE?£:“

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE quwy,¢¢
WESTERN DIVISION L"MHWEEG

 

 

 

UNITED STATES OF AMERICA,
Plaintiff,
V. NO. 04-20311

BENITA ROGERS,

Defendant.

~_/-._/~_/\_/\_/\_/\_/-._/-._/-_/

 

ORDER TRANSFERRING CASE FOR DISPOSITION

 

The Honorable J. Daniel Breen was assigned this ease for trial
on the criminal rotation dooket. A jury trial was Commenced on May
3, 2005. On May 5, 2005, the third day of the trial in this
matter, the defendant entered a plea of guilty to an Information
filed in open oourt(Case No. 05-201?0). Accordingly, this case, as
to Defendant Benita Rogers only, is hereby transferred to Judge
Breen for disposition with USA v. Benita Roqers, Criminal Case No.

05-20170.

IT IS SO ORDERED this ZB{ day of May, 2005.

€Mll

JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

 

This doc\_ment entered on the docket sheet in compHance

warn me 55 and/or aarb) FRch on _E_MS

/52\4

UNITED `sTEATS DISTRIC COURT - WESERNT D'S'TRCT 0 TESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 152 in
case 2:04-CR-20311 Was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

 

DeWun R. Settle

LAW OFFICE OF DEWUN R. SETTLE
100 N. Main Bldg.

Ste. 3001

1\/lemphis7 TN 38103

Larry E. Fitzgerald
FITZGERALD & HARRIS
22 N. Second Street

Ste. 410

1\/lemphis7 TN 38103

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

1\/lemphis7 TN 38103

Mark Saripkin

LAW OFFICE OF MARK SARlPKlN
140 N. Third St.

1\/lemphis7 TN 38103

Stephen R. Leftler
LEFFLER LAW OFFICE
707 Adams Ave.
1\/lemphis7 TN 38105

William C. Gosnell

LAW OFFICE OF WlLLIAl\/l C. GOSNELL
245 EXchange Ave.

1\/lemphis7 TN 38105

Vivian R. Donelson

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Case 2:O4-cr-20311-.]DB Document 152 Filed 05/18/05 Page 3 of 3 Page|D 219

Honorable Jon McCalla
US DISTRICT COURT

